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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )


                  PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
                    OBJECTIONS TO MAGISTRATE JUDGE’S ORDER
                 DENYING MOTION TO AMEND COORDINATION ORDER

         In its opposition, Google argues that “Plaintiffs should not take one-sided advantage of

  discovery proceedings in another forum after discovery in this matter has closed.” ECF No. 636

  (“Opp.”), at 2, 16. Yet that is precisely the one-sided advantage that the status quo currently

  affords Google, and Google alone. Google suggests that under the status quo, the parties “already

  have access to the same discovery record in this case” (Opp. at 2), but that is simply not true.

  Google has access to a separate discovery record based on its participation in the State of Texas’s

  related ad tech antitrust case against Google, where Google is represented by two of the same law

  firms and ten of the same attorneys. In the Texas Case, 1 potential trial witnesses from this case

  have been, or imminently will be, deposed. 2 As a party to that case, Google and its attorneys will


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   All shorthand references used herein (e.g., “Texas Case” and “MDL”) have the same meaning
  as in Plaintiffs’ memorandum in support of its objections. See ECF No. 623 (“Memo.”).
  2
   As nonparties, Plaintiffs do not have full insight into the depositions noticed and taken in the
  Texas Case. That said, based on public docket entries, it appears that at least the following
  witnesses from this case (witnesses who were included on one or both parties’ initial disclosures
  in this case) have been, or will be, deposed in the Texas Case: Neal Mohan (a senior Google
  executive deposed by Plaintiffs both during their pre-suit investigation and this litigation); Sam
  Temes (a member of Google’s sales organization who has not been deposed here); Max Loubser
  (a product manager for Google’s sellside products who was deposed during Plaintiffs’ pre-suit
  investigation); a Rule 30(b)(6) deposition of Google on “sell side market share”; Microsoft (a


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  have access to those witnesses’ sworn testimony. Google does not deny that it will rely on

  discovery from the Texas Case to influence its trial strategy here, nor could it because attorneys

  cannot be expected to put out of their mind evidence they learn in one case in defending that

  same client in a different matter. To that end, Google will be able to use the information learned

  in those depositions as a roadmap for decisions about whether to call witnesses at this trial and, if

  those witnesses are called by either side, to assist in the preparation of direct or cross

  examinations of those witnesses, regardless of whether Google actually uses the transcripts

  themselves to impeach the witnesses. It is this prejudice that the Magistrate Judge failed to

  address in his ruling, and Google compounds that failure by not addressing the relevant prejudice

  at issue in its opposition.

          Plaintiffs seek nothing more than to be on equal footing with Google with respect to

  access to sworn testimony given by relevant witnesses. Plaintiffs do not seek an extension of

  discovery or permission to take additional discovery in this case; they do not seek to participate

  in the depositions in the Texas Case, to control who is deposed there, or to determine the topics

  of examination at those depositions. All Plaintiffs seek is the bare minimum necessary to ensure

  equal access, after the fact, to sworn statements of relevant witnesses for impeachment purposes

  only. This is precisely the relief the Court already ordered with respect to equivalent depositions

  that are now occurring in the multidistrict litigation against Google. See Coordination Order,




  participant in the exchange market that was deposed in this litigation); PreBid (an organization
  that sponsors header bidding, which was not deposed); PubMatic (a participant in the exchange
  market, which was not deposed here); The Trade Desk (a demand side platform that was deposed
  in this litigation); Yahoo (a demand side platform that was not deposed here); and Broadstreet
  Ads (a company offering a small publisher ad server that was not deposed here). See Texas, ECF
  No. 450, at 1; ECF No. 488, at 4; ECF No. 496, at 3, 4, 6.


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  ¶ 6. 3 Because Plaintiffs would obtain these depositions directly from the court reporters

  themselves, there would be no burden on Google.

           To respond to Plaintiffs’ allegations of prejudice, Google suggests that Plaintiffs are

  fighting a “reality present in every case involving corporate litigants” because “corporate

  litigants always have more institutional access to and knowledge about their own employees.”

  Opp. at 17. But that is not the nature of the prejudice that Plaintiffs have alleged here. To start,

  Plaintiffs seek access not only to the depositions of Google employees but also of third parties as

  to whom Google cannot claim preferential access and knowledge. And though Google has

  superior access to its own current and former employees, that does not mean Google should be

  afforded preferential access to sworn testimony from those witnesses. There is a fundamental

  difference between access to individuals for purposes of voluntary, unsworn interviews and

  copies of those individuals’ prior sworn statements on related matters. Nor can Google credibly

  argue any prejudice arising from Plaintiffs’ request for equal access to these prior sworn

  statements. Google complains that that it would be disadvantaged because it would have “no

  corresponding right to additional discovery of Plaintiffs” (Opp. at 2), but that is a false

  equivalency. Plaintiffs do not seek to enlarge the amount of discovery taking place in this case;

  Plaintiffs merely seek fair access to the relevant portions of discovery that is already taking place

  in another case in which Google is already a participant, so the specter of “additional discovery”

  is a red herring.

           Google’s arguments against Plaintiffs’ objections are also internally inconsistent. On one

  hand, Google argues that deposition transcripts from the Texas Case would not be relevant. Opp.

  at 2. But in the same brief, Google argues that allowing Plaintiffs access to deposition transcripts


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      Order Regarding Coordination of Discovery, ECF No. 251.


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  from the Texas Case would be inequitable because Google would not be able to obtain additional

  discovery from Plaintiffs here. Opp. at 2-3. Both cannot be true. If the deposition transcripts from

  the Texas Case were irrelevant, there would be no prejudice to Google of allowing Plaintiffs

  access to such irrelevant materials. Furthermore, if the cases were actually unrelated, that begs

  the question why Google would be asking the court in the Texas Case to permit the wholesale

  reproduction of third-party discovery materials from this case to be used in the Texas Case.

         In sum, there is no sound basis on which to treat deposition transcripts from the Texas

  Case differently from deposition transcripts taken in the MDL, especially given that the Texas

  Case was part of the MDL at the time the Coordination Order was negotiated and entered. The

  Magistrate Judge’s ruling doing so was therefore clearly erroneous. All the arguments Google

  makes against Plaintiffs’ motion would apply with equal force to the MDL deposition transcripts

  being taken over the next month. In advocating for the Coordination Order, Google affirmatively

  sought the ability to use deposition transcripts from the MDL in this case, and there is no reason

  to treat the Texas Case differently. For reasons of fundamental fairness, and to promote

  efficiency and the search for truth, Plaintiffs should be allowed to obtain, directly from the court

  reporter, copies of deposition transcripts taken in the Texas Case that relate to individuals or

  entities on the parties’ initial disclosures in this case. “[A]symmetrical access [to deposition

  testimony] is unfair and contrary to the truth-seeking purpose of civil discovery.” In re BofI

  Holdings, Inc. Securities Litigation, No. 15-cv-2324, 2021 WL 4460751, at *4 (S.D. Cal. Sep.

  29, 2021).

                                             ARGUMENT

         Google summarizes at length the briefing before the Magistrate Judge and his statements

  during the hearing. E.g., Opp. at 8-9. But Google merely shows that Plaintiffs’ arguments were

  before the Magistrate Judge; Google does not demonstrate that the Magistrate Judge addressed


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  the core justifications for Plaintiffs’ motion, which is the crux of the clear error at issue. See

  Memo. at 13-15. Plaintiffs do not contend that the length or form of the Magistrate Judge’s order

  were in error. Rather, Plaintiffs’ objection is that the record before the Magistrate Judge evinced

  clear prejudice to Plaintiffs, yet the Magistrate Judge failed to remedy that prejudice or to explain

  why that prejudice was not a proper basis for the relief Plaintiffs sought. 4 Memo. at 13-15.

          A. The Magistrate Judge’s Decision Fails to Account for Prejudice to Plaintiffs from
             Google’s One-Sided Ability to Obtain Additional Relevant Deposition Testimony
             in Another Matter And to Use That Testimony To Inform Its Trial Strategy Here.

          The Magistrate Judge’s decision failed to address or remediate the ongoing prejudice to

  Plaintiffs from Google’s unilateral ability to obtain relevant deposition testimony in the Texas

  Case that it can use to litigate this case. Nothing in Google’s opposition changes, or even

  challenges, that basic fact.

                  1. Google Does Not Dispute that its Counsel May Access and Benefit from
                     Newly-Obtained Deposition Transcripts.

          In their opening memorandum, Plaintiffs posited that five facts “lead to the unavoidable

  result that Google will have an undue advantage at trial.” Memo. at 15. Google’s opposition only

  addresses one of those five facts, leaving the other four uncontested. Thus, there is no dispute

  that: (1) Google is taking and participating in additional depositions in the Texas Case; (2) at

  least some witnesses and entities noticed for deposition are also potential trial witnesses in this

  case; (3) Google’s attorneys will participate in those depositions, including two law firms and at

  least ten individual attorneys that represent Google in both cases; and (4) Google’s attorneys will

  inevitably have the opportunity to rely on the information they learn from the Texas Case in




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    Thus, Google’s citation to Roundabousch v. MTD Prods., Inc., No. 1:09-cv-00235-LMB-JFA
  (E.D. Va. Jul. 16, 2009) (Opp. at 16) is unavailing, and the cases cited by Plaintiff on page 14 of
  their memorandum are applicable.


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  selecting trial witnesses and preparing trial examinations for this case. See Memo. at 15 (listing

  same). All of these points were presented to the Magistrate Judge more than once. See ECF No.

  551, at 7-8; ECF No. 558, at 6-7; 4/19/2023 Hearing Tr., at 6:2-9, 12:19-13:16, 17:5-14. Google

  has never disputed that it is using the same attorneys in both cases and applying information

  from one case to benefit itself in others. Nor has Google ever explained how it will avoid taking

  undue advantage of the information it obtains in the Texas Case to its benefit in this case.

  Google’s silence is telling.

                 2. Deposition Transcripts from the Texas Case are Relevant to this Case.

         Google disputes whether information contained in deposition transcripts in the Texas

  Case will be relevant to trial in this case. Compare Memo. at 15 (“due to the overlap in claims

  and issues, some of the information from the Texas Case depositions will be relevant to the

  issue[s] presented at trial in this case”) with Opp. at 2, 5, 18 (arguing to the contrary). At the

  outset, the Court is more than capable of policing the admissibility of evidence, and it does not

  need Google’s help to ensure that questioning at trial is both efficient and probative. But Google

  is also incorrect about the relevance of the transcripts at issue for several reasons.

         First, Google took the opposite position when requesting this case be transferred to the

  MDL. At that time, Google contended that this case is simply “DOJ[’s] Own Version of the Texas

  Case” with “the same facts, relevant markets, and claims” implicating “the same or similar

  documents, data, party witnesses, and third parties.” ECF No. 44-2, at 10-12; see also Memo. at

  20 n.11; ECF No. 558, at 2 (explaining Google’s past arguments that this case and the Texas

  Case are identical).

         Second, Google attempts to justify its inconsistency by claiming the Texas Case changed

  character when the “Texas Plaintiffs amended their complaint to add 71 paragraphs of state-law

  deceptive trade practices claims” in May 2023. Opp. at 20; see also id. at 18 n.6. But those 71


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  paragraphs merely supplemented the over 700 paragraphs setting out their Federal and state

  antitrust law claims, leaving 90% of the Texas Case complaint the same. 5 See MDL, ECF No.

  541. Indeed, when permitting the amendment, Judge Castel explained that the amendment “does

  not relate to the federal antitrust claims.” MDL, ECF No. 495, at 1 (emphasis added). The Texas

  Case has always resembled this case in fundamental ways, such that the vast majority of the

  evidence developed there is likely to be probative of the issues presented here. It alleges markets

  related to web display advertising for publisher ad servers, exchanges, and advertiser ad-buying

  tools and claims for monopolization, attempting monopolization, and tying related to much of

  the same specific Google conduct at issue here. MDL, ECF No. 541, ¶¶ 92-195, 598-613.

         Third, Google’s argument that the Texas Case diverged from this case is inconsistent with

  the course of discovery in the Texas Case, where both Google and the Texas Court have

  acknowledged the similarities and overlap in relevant information. As examples: The Special

  Master ordered that Google produce copies of the expert reports from this case, finding that the

  Texas Case and this case include the same legal theories and allegations. Texas, ECF No. 418, at

  3, 5. Google argued that the deposition of a Google executive was “duplicative” because the

  executive was already deposed by Plaintiffs in this case “on a broad range of topics that underlie

  the key allegations” in the Texas Plaintiffs’ complaint. Texas, ECF No. 349-1, at 12; see also

  Texas, ECF No. 450 (limiting additional deposition time based on Google’s arguments). Google

  is seeking an order requiring reproduction of all third-party documents from this case in the

  Texas Case, calling them “relevant discovery materials” to the Texas Case. Texas, ECF No. 402,

  at 1. And in support of that request, Google’s counsel stated to Judge Jordan, presiding over the


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    Those additions were also not entirely new. At the time Google argued the similarities between
  this case and the Texas Case, the operative Texas complaint included “Supplemental State Law
  Deceptive Trade Practices Claims” just as it does now. MDL, ECF No. 195, ¶¶ 603-682.


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  Texas Case, just this month: “The parties actually agree here that the documents that we’re

  seeking reproduction of [i.e., documents from this case], they are relevant to this lawsuit.” Texas,

  ECF No. 475, at 6:15-17. 6

         The clear similarity between this case and the Texas Case leaves no basis to distinguish In

  re BofI Holdings, Inc. Securities Litigation, No. 15-cv-2324, 2021 WL 4460751 (S.D. Cal. Sep.

  29, 2021), which is instructive to this situation. Google concedes that in BofI the basis for

  requiring defendants to provide the deposition transcripts from the related case was that

  “publicly-filed excerpts” demonstrated their relevance, defendants “seemingly” agreed, and there

  were “substantial information asymmetries” including because defendants had “complete

  control” over the transcripts. Opp. at 12 n.4, 17 (quoting BofI, 2021 WL 4460751, at *3-5) see

  also Memo. at 16. The situation is similar here: Google’s statements and the publicly-available

  docket demonstrate that the issues in the Texas Case are similar to this case. Google has admitted

  that discovery in this case is relevant to the Texas Case (meaning the reverse is true too). Google

  has control and one-sided access to the transcripts now, leading to an information asymmetry.

         Google’s statements that discovery in the Texas Case is “focused” on state-law claims are

  unsupported. See Opp. at 5, 18 n.6. Google’s prior statements and publicly-available information

  show otherwise, leaving no record—for either the Magistrate Judge or the Court—to justify the

  conclusion that depositions in the Texas Case are “rife with irrelevant testimony.” 7 Id. at 2.



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    The Special Master in the Texas Case has also recognized the substantive similarities between
  the Texas Case and MDL, ordering Google to produce to the Texas Plaintiffs copies of all
  depositions taken in the MDL as “clearly relevant.” Texas, ECF No. 476, at 3, 6.
  7
    To the extent Google interprets the Magistrate Judge’s ruling as concluding, as a factual matter,
  that “this case and the Texas Case concern different sets of claims” (Opp. at 18), the full
  evidentiary record confirms this is a mistake, and therefore sufficient basis, alone, to sustain
  Plaintiffs’ objections. See Harrison v. Shanahan, No. 1:18-cv-641, 2019 WL 2216474, at *4
  (E.D. Va. May 22, 2019) (“[F]actual portions of the magistrate judge’s ruling may be set aside


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                  3. The Prejudice Arises from Google’s Ongoing Actions; Neither Past Discovery
                     nor the Timing of this Motion Address or Mitigate It.

          Plaintiffs’ motion and objections aptly explained the information asymmetry resulting

  from Google’s ability to take, shape, and access additional relevant depositions from the Texas

  Case without affording Plaintiffs’ any access to the same materials. Memo. at 2, 15-17; ECF No.

  551, at 7-9; ECF No. 558, at 5-7. The asymmetry arises not just from Google merely obtaining

  more information, but the timing of the additional discovery. Google’s counsel have reviewed

  Plaintiffs’ initial disclosures (listing their likely witnesses), expert reports and depositions

  (disclosing their theories and supporting evidence), and, now, summary judgment brief (citing

  key evidence on disputed issues). Armed with that information, Google’s counsel may—either

  consciously or unconsciously—rely on depositions in the Texas Case to obtain additional

  information tailored to addressing Plaintiffs’ theories.

          For that reason, several of Google’s arguments regarding the prejudice to Plaintiffs miss

  the mark. Plaintiffs’ motion would not give Plaintiffs access to more discovery without providing

  Google with more discovery from Plaintiffs. See Opp. at 2, 3, 18. It would merely allow

  Plaintiffs access to the same information Google is already obtaining. Plaintiffs’ requested relief

  would not give Plaintiffs more depositions or any opportunity to participate in additional

  depositions. There is no request for an “extension[] of discovery,” as Google alleges. See Opp. at

  22 (citing Smith v. City of Greensboro, No. 1:19-cv-3862021 WL 5772309 (M.D.N.C. Oct. 18,

  2021), which is inapposite for this reason); see also ECF No. 558, at 3-4. The volume of

  discovery that already occurred (including information provided in Plaintiffs’ pre-suit

  investigations) does not mitigate Google’s clear advantage in obtaining more information now,



  where … the reviewing court on the entire evidence is left with the definite and firm conviction
  that a mistake has been committed.” (quotation omitted)).


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   months before trial—armed with detailed knowledge of Plaintiffs’ theories—while Plaintiffs are

   prevented from doing so. And the Federal Rules limit discovery not in absolute terms (such as

   the number of documents produced—cf. Opp. at 1, 3, 17) but by whether it is “proportional to

   the needs of the case, considering the importance of the issue at stake.” Fed. R. Civ. P. 26(b)(1);

   see also ECF No. 208, at 3 (Google stressing the importance of this case by calling Plaintiffs’

   claims “extreme,” “unprecedented,” and seeking the “‘break up’ [of] a successful American

   company”). This is not a question of Plaintiffs taking more depositions of Google party witnesses

   than Google is able to take of Plaintiffs’ party witnesses; this is a question of equal access to

   relevant sworn testimony that will occur with or without the relief Plaintiffs seek. 8

          Further, the timing of Plaintiffs’ motion does not address, let alone disprove, the prejudice

   to Plaintiffs. Plaintiffs did not fail to “immediately seek to coordination this case with the Texas

   Case.” Opp. at 6. Plaintiffs sought to meet-and-confer with Google on continued coordination

   between this case and the Texas Case on the day immediately after the Judicial Panel on

   Multidistrict Litigation issued its initial remand order. Memo. at 7 (citing and attaching email

   from Ms. Wood to Google counsel from June 6, 2023 as Exhibit 4). It is likewise incorrect that

   Plaintiffs did not engage on coordination for “nearly 5 months after remand had been

   effectuated.” Opp. at 6. Plaintiffs’ memorandum explains their diligent efforts to effectuate

   appropriate coordination with the Texas Case through working with Google and the Texas



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     In any event, Google is not prejudiced by its inability to get additional depositions of Plaintiffs’
   witnesses because Google (1) sought the limit of 10 party depositions per side and resisted
   Plaintiffs request for more (ECF No. 87, at 3); (2) took individual depositions and Rule 30(b)(6)
   testimony from each of the eight federal agencies whose advertising purchases are at issue;
   (3) never sought leave to take more party depositions, whereas Plaintiffs did (ECF No. 489); and
   (4) has recently filed a motion to dismiss the United States’ damages claim as moot, which, if
   granted, would render most, if not all, testimony of Plaintiffs’ party witnesses irrelevant (ECF
   No. 628).


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   Plaintiffs. See Memo. at 7-9 & Exs. 4-6. Google cites statements from Judge Jordan expressing

   skepticism for coordination with this case (Opp. at 6, 20), but ignores that those statements were

   about other aspects of the coordination order and, in any event, Judge Jordan afterwards ordered

   the sharing of deposition testimony from the Texas Case with Plaintiffs in this case. Texas, ECF

   No. 266, ¶ 6.b.-c.

                  4. The Prejudice to Plaintiffs Is Not Diminished Because the Coordination Order
                     Did not Preemptively Address the Sharing of Transcripts Upon a Remand.

          Google claims that the prejudice to Plaintiffs is “overstated” or “unconcern[ing]” because

   the Coordination Order did not automatically extend to the Texas Case in the event of a remand.

   Opp. at 12. At the time the Coordination Order was negotiated and entered, there was a

   possibility the Texas Case would be remanded from the MDL, but whether that would occur and,

   if so, when were unclear. For that reason, the Coordination Order expressly contemplated the

   possibility that future coordination with a remanded case would be appropriate: “If any case(s)

   currently part of the MDL are transferred to other venue(s), the Parties in the Coordinated Cases

   shall meet and confer with the parties to the transferred case(s) regarding whether, and on what

   conditions, the transferred case(s) should be coordinated with the MDL and the Virginia Case.”

   Coordination Order, ¶ 9 (emphasis added); see also Memo. at 6-7.

          The Coordination Order does not preclude coordination with remanded cases. Instead,

   Plaintiffs’ motion follows the process required in the Coordination Order—and Google’s refusal

   to meet-and-confer on this issue for several months largely dictated the timing of this motion.

   See Memo. at 7. Google argues that the Magistrate Judge determined that there would be no

   prejudice to Plaintiffs because the Coordination Order stated that a party whose case was

   remanded or dismissed would no longer be covered by the Coordination Order as written. Opp.

   at 12. But that fact is the cause of the prejudice at issue, not its solution. Google’s argument thus



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   highlights that the Magistrate Judge failed to engage with Plaintiffs’ principal argument, instead

   focusing on an overly technical reading of the Coordination Order. See Memo. at 14. As Google

   portrays it, the reasoning underlying the Magistrate Judge’s decision is that once an order is

   entered, it cannot be modified to include a new provision, even where the order itself

   contemplates such a potential amendment. To the extent that flawed reasoning underlies the

   Magistrate Judge’s decision here, that reasoning conflicts with the court’s inherent judicial

   authority to issue amended orders based on good cause shown. See Memo. at 12 (“Questions of

   law . . . are reviewed under the contrary-to-law standard, which is essentially synonymous with

   de novo review” (quoting Harrison v. Shanahan, No. 1:18-cv-641, 2019 WL 2216474, at *4

   (E.D. Va. May 22, 2019)).

          Contrary to Google’s suggestion, the provision of the Coordination Order requiring the

   parties to meet-and-confer regarding extending coordination to a remanded case was not

   contingent on the scope of deposition discovery available in any individual case, and the remand

   of the Texas Case involved no “material[] change[]” in any relevant respect. See Opp. at 19. The

   number of depositions allowed by any court was always subject to change—and it has changed

   in the MDL now too. See MDL, ECF No. 777 (granting plaintiffs additional depositions). If

   anything, increasing the number of depositions in the Texas Case only heightened the need for

   coordination because it made the prejudice to Plaintiffs of non-coordination more acute, where

   Google has unilateral access to an even greater number of prior sworn statements of relevant trial

   witnesses. Google obtained the benefits of coordination before the Texas Case was remanded,

   and Google should not be allowed to shirk its reciprocal responsibilities. There is no “windfall”

   to Plaintiffs in holding Google to the contours of its original bargain (see Opp. at 19)—

   particularly where Google has already obtained the benefit of coordinating depositions with the




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   Texas Case throughout the discovery period in this case. See Memo. at 6; see also Opp. at 19

   (admitting that coordination of depositions was the “key benefit to Google” of coordination).

          B. By Google’s Own Acknowledgement, the Magistrate Judge Relied on an
             Assumed “Implication” of Judge Castel’s Order, not the Order Itself.

          Nothing in Judge Castel’s order explaining his decision to decline to enter a coordination

   order covering the MDL and the Texas Case 9 indicates that he would oppose a separate district

   court exercising its own authority to allow sharing of deposition transcripts between this case and

   the Texas Case. See Memo. at 8 (quoting in full the relevant portion of Judge Castel’s order). 10

   Google tacitly acknowledges this, conceding that it is merely the “implication” of Judge Castel’s

   order that Plaintiffs “resist.” Opp. at 15. Judge Castel denied the order, but Judge Jordan entered

   it in the Texas Case, including ordering the sharing of deposition transcripts from the Texas Case

   with this case. Texas, ECF No. 266, ¶ 6.b.-c.; see also Memo. at 7-9. It was error for the

   Magistrate Judge to rely on an “implication” of another court’s order in reaching a decision (see

   Memo. at 18-19). But even if that was proper, Judge Jordan’s view—expressed clearly in his

   order allowing sharing of deposition transcripts from the Texas Case to this case—should weigh

   more heavily. Google argues that Judge Castel’s opinion shows that the Magistrate Judge’s

   decision is not clearly erroneous. Opp. at 15. But Plaintiffs proposed a different order than that




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    Google claims that Plaintiffs “tried, and lost, before the MDL Court to get the outcome they
   seek” (Opp. at 20), but Plaintiffs were not involved in submitting the proposed coordination
   order to Judge Castel. Instead, Google itself “request[ed]” that Judge Castel enter a coordination
   order with the Texas Case, thereby itself requesting the same relief Plaintiffs seek here. See
   MDL, ECF No. 706, at 1.
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     Plaintiffs made no intentional mischaracterization regarding Judge Castel’s order. See Opp. at
   14. Plaintiffs cited the text of the order in their briefing (see ECF No. 558, at 10) and openly
   explained Judge Castel’s ruling and reasoning during the hearing (see 4/19/2024 Hearing Tr., at
   6:23-7:8).


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   which was before Judge Castel, and to the extent that Google is arguing that Judge Castel should

   have the last word on how this Court conducts the trial in this case, that is clearly mistaken.

             As Google acknowledges in a footnote, the plaintiffs in the MDL have since sought to

   obtain copies of deposition transcripts from the Texas Case via their own discovery requests, and

   Google has opposed those requests. See Opp. at 7, n.1. Judge Castel held a hearing on the issue

   on May 21, 2024. 11 At the hearing, Judge Castel reserved his ruling, but stated that he “vividly”

   remembered the “connection” and “correlation” between the Texas Case and the MDL. MDL,

   5/21/2024 Hearing Tr., at 33:4-8. Google’s counsel at the hearing did not argue that the Texas

   Case transcripts are irrelevant to the issues in the MDL, instead he asserted that allowing the

   sharing of deposition transcripts with the plaintiffs in the MDL would “defeat[]” a “ruling of the

   EDVA” (or “the Court [] in Virginia”), without also disclosing that Plaintiffs’ present objections

   to that order are pending. 12 Id. at 35:13-21.

             Even if Judge Castel does determine that the deposition transcripts from the Texas Case

   should not be shared with the plaintiffs in the MDL, Plaintiffs have proposed to modify their

   requested relief to prohibit the sharing of any deposition transcripts from the Texas Case with the

   plaintiffs in the MDL. Memo. at 20. That resolves this concern fully. Google half-heartedly

   argues that this modification “does not prevent Plaintiffs from using what is in the transcripts to

   coordinate strategy with MDL Plaintiffs” (Opp. at 22), but it is unclear what Google is positing

   will occur, and coordinating “strategy” is not a concern expressed by Judge Castel, by

   “implication” or otherwise.




   11
        See MDL, 5/21/2024 Hearing Tr., attached hereto as Ex. 1.
   12
     Google’s attempt to use the Magistrate Judge’s order offensively to block requests for relevant
   discovery in another court is the only “judge shopping” occurring in this situation.


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          C. The Magistrate Judge’s Decision Ignored Burdens on Plaintiffs and Third
             Parties who were Forced to Respond to Duplicative Subpoenas.

          Google is incorrect in saying there was no burden of responding to duplicative discovery

   that the Magistrate Judge ignored. See Opp. at 13. As recounted in Plaintiffs’ briefing, Google

   sought to serve subpoenas from the Texas Case on the United States, its constituent agencies, the

   State Plaintiffs, and third-party companies seeking re-production of documents and deposition

   testimony obtained through discovery in this case. ECF No. 551, at 10; Memo. at 9, 18. As of the

   filing of Google’s opposition, Plaintiffs understand that at least four federal agencies received

   such subpoenas (with one having fully responded) and at least fourteen states received such

   subpoenas and provided responses and objections. Google asserted to the Court that “the only

   materials from this action that Google is currently seeking in the Texas Case are third-party

   materials” (Opp. at 13 n.5), but that statement carefully obscures that Google previously took a

   different position and that Google does not appear to have informed any of these subpoena

   recipients that it was no longer seeking compliance.

          Google’s opposition also concedes that, of the hundreds of relevant third parties, “all but

   a handful” have responded to its subpoenas. Opp. at 13. Google calls this a “simple step” (Opp.

   at 13), but for many third parties (for example, those lacking the size or resources of Google)

   receiving a subpoena, engaging counsel, obtaining legal advice, weighing the protective order

   protections, and responding one way or the other are burdensome activities that involve legal

   fees and distract personnel from their regular duties. Google does not deny that its subpoenas are,

   in fact, duplicative. See Memo. at 17. And the fact that Google has taken advantage of the

   intervening time to force the Plaintiffs and third parties to respond is not a justification for the

   Magistrate Judge ignoring the burden.




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          D. Plaintiffs have been Consistent and Transparent with Their Positions Across
             Related Cases.

          Plaintiffs have consistently stated their position regarding coordination and sharing of

   discovery between the three related cases. The United States’ appearance at a recent hearing in

   the Texas Case illustrates the consistency of Plaintiffs’ position (and was not inappropriate

   “judge shopping”). When these objections were filed, Plaintiffs informed the Court that Google

   had already filed a joint motion in the Texas Case seeking reproduction of documents from this

   case (and attached a copy of that motion). Memo. at 12 & Ex. 2. Plaintiffs likewise explained

   that the United States filed a Statement of Interest in the Texas Case related to Google’s motion,

   requesting that Google be directed to raise this request—squarely impacting this Court’s

   protective order—in this Court in the first instance (and attached a copy of that Statement of

   Interest). Memo. at 12 & Ex. 3. Plaintiffs explained that a hearing would occur. Memo. at 12.

   And, then, once the hearing had occurred, Plaintiffs provided the Court with a copy of the full

   transcript as a supplement to Plaintiffs’ initial objections filing. See ECF No. 629 & Ex. A

   thereto. During that hearing, counsel for the United States explained:

          We have no opposition to coordination of documents and discovery between this
          case and the EDVA action. What we do oppose, however, is one-sided
          gamesmanship where one party is seeking to take the benefits of that coordinated
          discovery without providing the reciprocal benefit to the other side.

          …

          We would not oppose [discovery from this case] being reproduced here, provided
          that this Court, which has jurisdiction of its own protective order, carves out a
          provision in that protective order to provide the ability of the plaintiffs in the
          EDVA action to obtain deposition transcripts. That would leave for the Court [in]
          Virginia to decide how and whether those deposition transcripts could be used at
          trial.

   ECF No. 629-1, at 8:12-17, 9:6-13. That is the same position Plaintiffs have taken here and is

   entirely consistent with the relief requested in Plaintiffs’ motion.



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          E. Plaintiffs’ Proposed Modifications to the Coordination Order Properly Calibrate
             the Scope of Proposed Coordination.

          Plaintiffs have proposed modifications to the Coordination Order to address the concerns

   of the Magistrate Judge about the volume of information shared. Memo. at 19-21. These

   modifications properly limit the scope of materials that would be shared to include only

   deposition transcripts and exhibits and only for witnesses (or entities) that appear on either

   parties’ initial disclosures in this case. Google argues that these initial disclosures are “extensive”

   with “over 90” Google witnesses and “250 third-party witnesses or entities” (Opp. at 21), but

   that is not the relevant question. Because the Texas Case deposition transcripts would only be

   used for impeachment of live trial witnesses, their use here is inherently limited to the number of

   witnesses deposed in the Texas Case who are also testifying live at this trial—a subset of

   witnesses of unquestionable relevance and import to this case. 13 In comparison to the millions of

   documents already produced in this case (see Opp. at 1, 3, 17), the injection of a limited number

   of prior sworn statements from potential trial witnesses seems a small price to pay to ensure a

   fair playing field between the parties.

          Google argues that sharing the deposition transcripts would “disrupt the proceedings in

   this case” and quotes the Magistrate Judge’s statement that the case is in the midst of summary

   judgment and only “four months before the trial.” Opp. at 17, 21. Again, this argument

   fundamentally misconstrues the nature of the relief sought by Plaintiffs. By its terms, these

   deposition transcripts could not be used by either party in any affirmative fashion, whether at

   summary judgment, or in any other motion or at trial. The only use for these additional



   13
     Google has argued to Judge Castel that the MDL Plaintiffs’ request for transcripts from the
   Texas Case involves “roughly 20” transcripts that at are issue. MDL, 5/21/2024 Hearing Tr., at
   33:20-25; see also id. at 35:5 (Google’s counsel referring to “two dozen more transcripts”).


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   transcripts would be to impeach a live witness at trial. For that reason, providing Plaintiffs

   equivalent access to relevant witnesses’ prior sworn statements, for impeachment use only,

   would not disrupt the proceedings in any fashion. Indeed, Plaintiffs are already entitled under the

   Coordination Order to obtain copies of the MDL deposition transcripts—which will be

   completed after the Texas Case depositions—yet Google has never argued that Plaintiffs’ access

   to the MDL transcripts would “disrupt” any proceedings. Because Google’s counsel is

   undoubtedly already reviewing the transcripts in their dual role representing Google both cases,

   and whereas Plaintiffs do not object to any “burden” of reviewing additional transcripts, it is

   difficult to imagine the precise “disruption” Google imagines. The Court will be fully able to

   determine at trial whether the attempted use of these materials for impeachment purposes is

   proper. Thus, it strains credulity to suggest that Plaintiffs are proposing to “inject” voluminous

   new discovery into the case. See Opp. at 21.

                                             CONCLUSION

          For the reasons discussed above and in Plaintiffs’ initial memorandum, Plaintiffs

   respectfully request that the Court sustain their objections.




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   Dated: May 23, 2024

   Respectfully submitted,

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